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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA


LISA WEST, STORMY HOPSON,                 )
AUBURN & DOUGLAS CLOYES,                  )
DELL LIVSEY, JULIA & DALE                 )
WHITE, individually and as Class          )
Representatives,                          )
                                          )
                                          )
                    Plaintiffs,           )
                                          )
-vs-                                      )   Case No. CIV-16-264-F
                                          )
CHAPARRAL ENERGY, LLC,                    )
CHESAPEAKE OPERATING, LLC,                )
DEVON ENERGY PRODUCTION                   )
CO., LP, EASTOK PIPELINE, LLC,            )
EQUAL ENERGY U.S., INC.,                  )
FAIRFIELD OIL & GAS CORP.,                )
NEW DOMINION, LLC, PHOENIX                )
OIL & GAS, INC., RANGE                    )
PRODUCTION COMPANY, LLC,                  )
SANDRIDGE EXPLORATION &                   )
PRODUCTION, LLC, TRANSPRO                 )
ENERGY, LLC, and WHITESTAR                )
PETROLEUM, LLC f/d/b/a                    )
AMERICAN ENERGY                           )
WOODFORD, LLC,                            )
                                          )
                    Defendants.           )

                                     ORDER

       Before the court are the following motions:
        Devon Energy Production Company, L.P.’s Motion to Dismiss Plaintiffs’
          Second Amended Complaint (doc. no. 278);
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       Defendant White Star Petroleum, LLC’s Motion to Dismiss Plaintiffs’
         Second Amended Complaint for Failure to State a Claim (doc. no. 279);
       Defendant Sandridge Exploration and Production, LLC’s Motion to
         Dismiss Plaintiffs’ Second Amended Complaint (doc. no. 281);
       Defendant Phoenix Oil & Gas, Inc.’s Motion to Dismiss Plaintiffs’ Second
         Amended Petition (doc. no. 282);
       Motion to Dismiss of Defendants Equal Energy U.S., Inc., Fairfield Oil &
         Gas Corp., and Oklahoma Oil and Gas Management, Inc. (doc. no. 284);
       Defendants Chaparral Energy, LLC’s and Range Production Company,
         LLC’s Motion to Dismiss (doc. no. 285);
       Motion to Dismiss Plaintiffs’ Second Amended Complaint filed by
         defendant, New Dominion, LLC (doc. no. 286);
       Defendant Chesapeake Operating, LLC’s Motion to Dismiss Plaintiffs’
         Second Amended Complaint (doc. no. 287); and
       Defendant EastOK Pipeline, LLC’s Motion to Dismiss Plaintiffs’ Second
         Amended Complaint (doc. no. 289).
      Upon due consideration of the parties’ submissions and relevant law, the court
makes its determinations.
Background
      Plaintiffs, Lisa West and Stormy Hopson, originally commenced this putative
class action in the District Court of Pottawatomie County, Oklahoma. The action
was brought against fifteen defendants and a proposed defendant class of companies
operating wells injecting wastewater into the Arbuckle formation. The proposed
class area included eight counties in Oklahoma. Plaintiffs alleged that defendants’
injection of wastewater had induced or triggered earthquakes and would continue to
do so, even if injection of wastewater was immediately stopped. Plaintiffs asked for



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injunctive relief requiring defendants and the defendant class to reimburse them for
earthquake insurance premiums – both prospectively and retrospectively.
      The action was removed to this court by defendant, Berexco, LLC, alleging
the existence of subject matter jurisdiction under the Class Action Fairness Act, 28
U.S.C. § 1332(d). That defendant and two other defendants were subsequently
dismissed by plaintiffs. Plaintiffs filed a motion to remand, but after an evidentiary
hearing, it was withdrawn.      With leave of court, plaintiffs filed an amended
complaint. The amended complaint added seven new defendants and expanded the
class area to 26 counties in Oklahoma. In addition to injunctive relief, plaintiffs
requested compensatory and declaratory relief. The amended complaint asserted the
same tort claims alleged in the original petition – private nuisance, ultrahazardous
activity, negligence and trespass.
      Defendants moved to dismiss the amended complaint on various grounds.
The court held a hearing with respect to defendants’ dismissal motions. The court
granted defendant Sandridge’s motion, concluding that plaintiffs failed to set forth
any allegations relating to the defendant after the effective date of its bankruptcy
discharge. The court granted dismissal of the claims against the other defendants on
the issue of causation. Specifically, the court found that plaintiffs had not pleaded
facts sufficient to plausibly allege causation – that defendants’ alleged injection well
activities caused any earthquake that caused damage to the named plaintiffs. The
court also dismissed plaintiffs’ request for injunctive relief. However, the court
granted plaintiffs leave to amend.




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         As authorized, plaintiffs filed a second amended complaint. The pleading
adds five new plaintiffs, Auburn Cloyes, Douglas Cloyes, Dell Livsey,1 Julia White
and Dale White, dismisses six defendants2 and expands the class area to 28 counties
in Oklahoma. Plaintiffs allege that defendants’ injection of wastewater has caused
earthquakes occurring in and around central and western Oklahoma. Plaintiffs
describe six separate earthquake swarms, Prague,3 Edmond,4 Crescent,5
Fairview/Cherokee,6 Pawnee7 and Cushing.8                 Plaintiffs also makes allegations
regarding injection well activities of defendant Sandridge as well as defendant
Chaparral,9 which have purportedly occurred post-bankruptcy.10




1
  The caption of the second amended complaint names plaintiff’s as “Del Livsey” but the body of
the pleading refers to plaintiff as “Dell Livsey.” The court will use the latter reference for this
order.
2
 Although the caption of the second amended complaint does not include defendant, Oklahoma
Oil & Gas Management, Inc., the body of the pleading includes the company as a defendant.
3
 According to plaintiffs, there were more than 11 earthquakes in the Prague area greater than 3.5
magnitude between November 5 and December 25, 2011. The biggest earthquake was a 5.7
magnitude on November 6, 2011.
4
 Plaintiffs allege that a magnitude 4.5 earthquake struck near Edmond on December 7, 2013 and
more than 20 additional earthquakes of at least magnitude 3 occurred in the Edmond area from
November 2013 to February 2014.
5
 Plaintiffs allege that a series of earthquakes struck near Crescent including a 4 plus magnitude
on November 19, 2015 and a magnitude 4.2 earthquake on March 9, 2016.
6
 Plaintiffs allege that from November 2015 to February 2016, there were four large earthquakes
near Fairview and Cherokee. The largest was a magnitude 5.l on February 13, 2016 and there
were 4.7 magnitude earthquakes on November 19 and 30, 2015 and January 7, 2016.
7
 According to plaintiffs, the largest known earthquake in Oklahoma’s history occurred near
Pawnee on September 3, 2016. It was a 5.8 magnitude earthquake.
8
    Plaintiffs allege that a 5.0 magnitude earthquake occurred near Cushing on November 7, 2016.
9
 Prior to the filing of the amended complaint, Chaparral had commenced Chapter 11 bankruptcy
proceedings.
10
  According to the complaint, much of Sandridge’s post-bankruptcy injection activity was in the
Bryon-Medford area.

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      The second amended complaint sets forth allegations with respect to each
named plaintiff. According to the amended pleading, plaintiff, Lisa West, suffered
damage to her home in the Prague 2011 earthquake and made a claim against
earthquake insurance that was eventually paid. But insurance did not cover any
damage to the outside of her house and Ms. West had to pay a 1% deductible out of
pocket. Also, plaintiff West was not reimbursed for any insurance premiums.
      Plaintiff, Stormy Hopson similarly suffered damage to her home during the
Prague 2011 earthquake. That damage, however, has not been repaired. Worrying
what will happen to her home if a big earthquake causes further damage, plaintiff
Hopson would like to purchase earthquake insurance, but due to other financial
commitments, she has not done so.
      Next, the second amended complaint alleges that plaintiff, Dell Livsey, a
resident of Stillwater, Oklahoma, has suffered through four earthquakes, the
November 6, 2011 Prague earthquake, the September 3, 2016 Pawnee earthquake,
an unidentified November 7, 2016 earthquake and the November 13, 2016 Medford
earthquake. According to the amended pleading, plaintiff Livsey suffered property
damage from the Prague earthquake and the damage increased with each subsequent
earthquake. Plaintiff Livsey would like to have earthquake insurance, but she was
dissuaded from purchasing it by her insurance agent due to the high deductible.
      According to the second amended complaint, plaintiffs, Auburn and Douglas
Cloyes, purchased a home in Edmond on May 14, 2015. Thereafter, they suffered
property damage from the Fairview/Cherokee swarm of earthquakes. The couple
has earthquake insurance and attempted to make a claim for the damage to the home,
but no claim was actually filed. The Pawnee earthquake caused additional damage
to their home. The Cloyes submitted an insurance claim, but as of the filing of the
complaint, the damage had not been repaired.



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      Lastly, the second amended complaint alleges that plaintiffs, Julia and Dale
White, residents of Cushing, suffered property damage to their home from the
Cushing earthquake and made a claim on their earthquake insurance. According to
the amended pleading, the Whites received a settlement, “but no one has reimbursed
Plaintiffs White for the premiums they incurred and which they will continue to
incur as a result of the earthquakes induced by Defendants’ activities.” Second
Amended Complaint (doc. no. 272), at ¶ 35.
      For relief, plaintiffs request (1) an award of damages to reimburse them for
past and future earthquake insurance premiums; (2) an award to compensate them
for damages to real and personal property; (3) damages for interference with the use
and enjoyment of property, and for annoyance, discomfort and inconvenience to
them; (4) damages for diminution of property value; and (5) an award of economic
loss for business interruption. Plaintiffs seek to recover this requested relief under
four theories of liability: (1) private nuisance (Count I); (2) abnormally dangerous
activities (Count II); (3) negligence (Count III); and (4) trespass (Count IV).
      In the second amended complaint, plaintiffs seek to certify a plaintiff class of
“[a]ll persons owning an interest in real property in the Class Area from 2011
through the time the Class is certified.” Second Amended Complaint (doc. no. 272),
¶ 112. As stated, the class area includes 28 counties. Three subclasses are defined
by the complaint: (1) “a damage [sub]class comprising Class Members who
incurred, within the Class Area, property damage or personal injury associated with
earthquakes (‘Damage Subclass’);” (2) “an insured subclass comprising Class
Members who paid earthquake insurance premiums on real property in the Class
Area (‘Insured Subclass’);” and (3) “Class Members who own real property in the
Class Area in areas where shaking experienced by residents from at least one
earthquake was MM3 (‘Nuisance Subclass’).” Id. at ¶ 115.



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      Plaintiffs, in their amended pleading, also seek to certify a defendant class
comprised of “[a]ll persons operating an underground injection well disposing of
wastewater into the Arbuckle formation, or another formation shown to have caused
an earthquake, in the Class Area from 2011 through the time the Class is certified.”
Id. at ¶ 129. Plaintiffs allege that there may be as many as 175 injection-well
operators in the class area and joining that many operators, plaintiffs assert, would
be impractical and inefficient.
      In the pending motions, defendants again challenge the sufficiency of
plaintiffs’ pleading under Rule 12(b)(6), Fed. R. Civ. P.
Standard of Review
      At the Rule 12(b)(6) motion-to-dismiss stage, the court “must accept all the
well-pleaded allegations of the complaint as true and must construe them in the light
most favorable to the plaintiff.” Thomas v. Kaven, 765 F.3d 1183, 1190 (10th Cir.
2014) (quoting Cressman v. Thompson, 719 F.3d 1139, 1144 (10th Cir. 2013)). “To
survive dismissal, ‘a complaint must contain sufficient factual matter, accepted as
true, to state a claim to relief that is plausible on its face.’” Thomas, 765 F.3d at
1190 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw
the reasonable inference that the defendant is liable for the misconduct alleged.”
Iqbal, 556 U.S. at 678. “‘The plausibility standard is not akin to a probability
requirement, but it asks for more than a sheer possibility that a defendant has acted
unlawfully.’” Thomas, 765 F.3d at 1190-1191 (quoting Iqbal, 556 U.S. at 678.)
Where the well-pleaded facts do not permit the court to infer more than the mere
possibility of misconduct, the complaint has not shown the plaintiff is entitled to
relief. Iqbal, 556 U.S. at 679. However, where the well-pleaded facts nudge a
complaint of plaintiff “across the line from conceivable to plausible,” Bell Atlantic
Corp. v. Twombly, 550 U.S. 544, 570 (2007), dismissal is not appropriate.

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Causation
      All defendants challenge the second amended complaint for failure to
sufficiently allege facts to establish that they caused any earthquake which allegedly
injured one or more of the named plaintiffs. According to defendants, plaintiffs have
not cured the deficiencies in their previous amended complaint.
      “Causation is a traditional element of tort liability.” Steed v. Bain-Holloway,
356 P.3d 62, 68 (Okla. Civ. App. 2015). It is an element for all the torts alleged by
plaintiffs. See, Valley View Angus Ranch, Inc. v. Duke Energy Field Services, Inc.,
497 F.3d 1096, 1107 n. 17 (10th Cir. 2007) (nuisance and trespass); Jennings v.
Badgett, 230 P.3d 861, 865 (Okla. 2010) (negligence); and Davis v. City of Tulsa,
87 P.3d 1106, 1109 (Okla. Civ. App. 2004) (abnormally dangerous activity). To
establish causation, “there must be ‘some reasonable connection between the act or
omission of the defendant and the damage which the plaintiff has suffered.’” Steed,
356 P.3d at 68 (quoting State of Oklahoma ex rel. Oklahoma Department of Public
Safety v. Gurich, 238 P.3d 1, 4 (Okla. 2010)).
      Upon review and as discussed below, the court agrees that plaintiffs have
failed to sufficiently allege facts to establish that Chaparral and Sandridge caused
any earthquake post-bankruptcy which injured any named plaintiff. The court
likewise agrees that plaintiffs have failed to allege facts to establish that defendant
Range caused any earthquake that injured a named plaintiff.
      As stated, in the second amended complaint, plaintiffs have described
earthquake swarms, including swarms in and around Edmond and Crescent.
Plaintiffs allege that injection well activities of defendants Devon, Oklahoma Oil
and Gas Management and New Dominion have primarily caused the Edmond
earthquakes and that injection well activities of defendants Devon and White Star
Petroleum have primarily caused the Crescent earthquakes. However, with respect
to these earthquake swarms, the court finds that the second amended complaint fails

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to connect any alleged act or omission of the defendants with damage to a named
plaintiff. Therefore, the court finds that plaintiffs have failed to state any plausible
claim against Devon and they have failed to state a plausible claim against Oklahoma
Oil and Gas Management and New Dominion with respect to the Edmond
earthquake swarm and against White Star Petroleum with respect to the Crescent
earthquake swarm.
      With regard to the remaining earthquake swarms – Prague, Fairview/
Cherokee, Pawnee and Cushing – the court concludes that the second amended
complaint sufficiently alleges facts to establish a reasonable connection between the
injection well activities of defendants in question and damage to named plaintiffs.
Chaparral
      After the commencement of this action, defendant Chaparral filed for
bankruptcy protection under Chapter 11. Chaparral’s reorganization plan was
approved by the bankruptcy court and became effective on March 21, 2017.
Although plaintiff West sought to pursue a class claim against the bankruptcy estate,
the claim was not allowed by the bankruptcy court. See, doc. no. 325. Any claim
against Chaparral based upon activities prior to March 21, 2017 (which would
include any claim based upon the Fairview/Cherokee earthquake swarm) is therefore
barred.
      In the second amended complaint, plaintiffs make allegations regarding
Chaparral’s post-bankruptcy conduct. Plaintiffs allege that from March 21, 2017
until shortly before the filing of the second amended complaint, Chaparral injected
more than 3 million barrels of wastewater and operated two wells of interest, Elsie
1 and Wessel 1. See, Second Amended Complaint (doc. no. 272), ¶ 109. According
to the amended pleading, defendant’s activities caused two earthquakes having a
magnitude greater than 3. One earthquake occurred on May 13, 2017 and the other
occurred on May 16, 2017. Both were southwest of Cherokee, Oklahoma. Id.

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      The court, however, concludes that plaintiffs’ allegations are not sufficient to
state a plausible claim against Chaparral. Specifically, there are no allegations that
any of the named plaintiffs experienced either of the alleged earthquakes or were
injured or damaged by either earthquake. Thus, there is no connection between an
act or omission of Chaparral and damage suffered by a named plaintiff.
      Plaintiffs, in a supplemental pleading (doc. no. 321), provide additional facts
regarding four 3.0 plus magnitude earthquakes which struck near Jacks, Oklahoma
from October 31, 2017 to November 2, 2017. Plaintiffs describe certain actions
taken by the Oklahoma Corporation Commission and Chaparral following those
earthquakes. According to plaintiffs, the Jacks swarm was “perceived as a Modified
Mercali [sic – should be Mercalli] (“MM”) 3 in both Edmond and Guthrie, where
the named plaintiffs reside.”    Id., p. l.    However, there are no assertions in the
supplemental pleading that any named plaintiff experienced the Jacks earthquakes.
Moreover, the court agrees with Chaparral that allegations as to the Jacks earthquake
swarm are irrelevant to the adjudication of the legal sufficiency of the second
amended complaint since those allegations are not part of the amended pleading.
The court, in adjudicating Chaparral’s motion, is limited to factual allegations in the
complaint. Rule 12(d), Fed. R. Civ. P. Further, LCvR 7.1(j) makes clear that
plaintiffs’ factual statements are not part of the record, unless authorized by the
court. No such authorization has been sought or granted. While plaintiffs indicate
in the supplemental pleading a desire for leave to amend if the court finds the second
amended complaint deficient, the court declines to construe the pleading as a motion
to amend under Rule 15, Fed. R. Civ. P. In requesting leave to file a supplemental
brief, plaintiffs did not mention that they intended to include a request for leave to
amend. See, doc. no. 319. The court therefore did not authorize plaintiffs to file any
request for leave to amend.



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      In sum, the court concludes that the allegations in the second amended
complaint do not state a plausible claim upon which relief may be granted with
respect to Chaparral. Consequently, the court concludes that defendant Chaparral’s
motion to dismiss should be granted.
 Sandridge
      The amended complaint was previously dismissed as to defendant Sandridge
because the pleading failed to make any allegations concerning the company’s
activities after the effective date of its bankruptcy discharge. That would have been
a tall order, because the effective date was ten days prior to plaintiffs’ filing of the
amended complaint. However, the court granted plaintiffs leave to amend their
complaint to assert a post-effective date tort.
      In the second amended complaint, plaintiffs make allegations as to
Sandridge’s injection well activities after the bankruptcy discharge. The court,
however, concludes that these allegations are insufficient to establish that Sandridge
caused an earthquake which damaged a named plaintiff.
      For most defendants, plaintiffs describe six earthquake swarms and set forth
allegations which, at least when measured by the Rule 12(b)(6) standard, provide a
reasonable connection between defendants’ injection well activities and damage to
plaintiffs. Specifically, plaintiffs allege that certain of defendants’ wells primarily
caused the swarm because the wells were among the upper quartile of injection well
disposal volume, within 10 miles of the earthquake or otherwise of special interest.
The second amended complaint does not provide any such allegations with respect
to defendant Sandridge. According to plaintiffs’ allegations in the second amended
complaint, causation of earthquakes is a function of proximity to an earthquake or
the volume of wastewater injected in the wells. However, plaintiffs do not provide
any information as to the proximity of any well or wells of Sandridge to the



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earthquake allegedly experienced by plaintiff Livsey11 or whether any well or wells
were in the upper quartile of injection volume. Plaintiffs allege that defendant is
responsible for 65 wells which produced more than 107 million barrels of
wastewater from the date of bankruptcy discharge to the filing of the second
amended complaint. See, Second Amended Complaint (doc. no. 272), ¶¶ 27, 106.
According to plaintiffs, “much” of the post-petition injection was in an area known
as the “Bryon-Medford Area.” Plaintiffs refer to 28 wells of interest but provide no
facts of how the total volume of wastewater injection by Sandridge relates to those
wells. In their response brief, plaintiffs, citing paragraph 92 of their amended
pleading, state that “Sandridge’s injection activities place it in the upper quartile of
injection well disposal volume, within 10 miles of an earthquake or otherwise special
interest.” Response (doc. no. 300), p. 6. However, paragraph 92 refers to two wells,
Seebe 1-23 and Seebe 2-23. Id., ¶ 92. Neither well is listed as one of the 28 wells
of interest.
       Plaintiffs also point out that the second amended complaint alleges that
several of the earthquakes caused by Sandridge’s post-bankruptcy injection
activities were almost right under one or more of its larger injection wells. See,
Second Amended Complaint (doc. no. 272), ¶ 107.                       However, there are no
allegations that the alleged earthquake which plaintiff Livsey experienced was one
of these earthquakes.
       In their briefing, plaintiffs argue that they are not required to establish that a
specific well or wells caused a specific earthquake or earthquake swarm. See,
Response (doc. no. 298), p. 25. However, as to the other defendants and Sandridge


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  The court notes that in their response, plaintiffs represent that “Medford” is a scrivener’s error
and that the relevant earthquake experienced by Livsey was the 3.8 earthquake which occurred on
March 16, 2017 and was centered 8 km SW of Cherokee. See, Second Amended Complaint (doc.
no. 272), ¶ 107 (Table 2).

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(pre-bankruptcy), plaintiffs link specific wells to specific earthquakes to specific
plaintiffs. Those allegations, in the court’s view, provide a reasonable connection
between the acts or omissions of defendants and the harm to plaintiffs. The
allegations with respect to Sandridge post-bankruptcy do not connect a specific well
or wells to a specific earthquake experienced by plaintiff Livsey. Therefore, the
Second Amended Complaint does not show a reasonable connection between the
acts or omissions of Sandridge and the harm to plaintiff Livsey.
        In the court’s view, the allegations set forth in the second amended complaint
are not sufficient to nudge plaintiffs’ claims against defendant Sandridge from
conceivable to plausible. The allegations are not adequate to show that defendant
Sandridge’s post-bankruptcy injection well activities caused any earthquake that
damaged plaintiff Livsey. The court therefore concludes that defendant Sandridge’s
motion to dismiss should be granted.
Range
        Plaintiffs, in their briefing, state:
               For all Defendants other than Range, Plaintiffs allege that
               the specific defendant injected through specific well(s)
               causing a specific earthquake which damaged specific
               plaintiff(s). For Range, no specific well was identified,
               nor was causation of a specific earthquake alleged.

Response (doc. no. 298), p. 6.

        The court agrees that no causation has been specifically alleged as to
defendant Range. The court therefore finds that the second amended complaint is
insufficient to state a plausible claim upon which relief may be granted against
defendant Range. Although plaintiffs, in a footnote, seek leave to amend if the court
“is inclined to dismiss” Range, id., n. 4, the court denies the request. If plaintiffs
desired to again amend their complaint, they should have sought leave to do so by
motion so that the affected parties would have an opportunity to respond and the

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court would have an opportunity to rule promptly, in the interest of keeping this
complex case moving. The court’s local civil rules do not allow a motion to be filed
in a response. See, LCvR 7.1(c). Moreover, the court has already granted plaintiffs
an opportunity to cure the lack of causation deficiency in their pleading. They
concededly have not done so with respect to defendant Range. Hence, the court
concludes that defendant Range’s motion to dismiss should be granted.
Edmond and Crescent Earthquake Swarms
      The second amended complaint describes an Edmond earthquake swarm and
alleges that the wastewater injection into the Arbuckle formation by defendants
Devon, Oklahoma Oil and Gas Management, New Dominion and others, primarily
caused the earthquakes. It also describes a Crescent earthquake swarm and alleges
that the wastewater injection into the Arbuckle formation by defendants Devon and
White Star Petroleum, and others, primarily caused the earthquakes. The Edmond
earthquakes occurred from November 2013 to February 2014 and the Crescent
earthquakes occurred from November 2015 to March 2016. Mr. and Mrs. Cloyes
are the only named plaintiffs alleged to have experienced and been damaged by the
Edmond earthquakes.       Second Amended Complaint (doc. no. 272), ¶ 82
(“Specifically, Plaintiffs Cloyes suffered damage to their home as a result of the
Edmond earthquakes.”) However, the second amended complaint makes clear that
the Cloyes did not own the real property affected by those earthquakes when they
occurred. They purchased their property on May 14, 2015, more than one year after
the last referenced earthquake. Id., ¶ 34. Furthermore, there are no allegations in
the second amended complaint that the Cloyes or any other named plaintiffs
experienced the Crescent earthquakes.
      In their response, plaintiffs state that the Cloyes and Dell Livsey experienced
the Edmond and Crescent earthquakes. Response (doc. no. 298), pp. 7, 10, 14
(“Devon’s wastewater injection primarily caused the Edmond (Dec. 2013) and

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Crescent (Nov. '15- Mar. '16) earthquake swarm that damaged Plaintiff Cloyes’,
Livsey’s and the class’ real and personal property and interfered with the use and
enjoyment of real property.”); (“New Dominion wastewater injection primarily
caused the Prague (Nov. – Dec. 2011) and Edmond (Dec. 2013) earthquake swarms
that damaged Plaintiff West’s, Hopson’s, Livsey’s, Cloyes’, and the class’ real and
personal property and interfered with their use and enjoyment of real property.”);
(“White Star primarily caused the Prague (Nov.-Dec. ’11), Crescent (Nov. ’15-Mar.
’16), Pawnee (Sep. ’16), and Cushing (Nov[.] ’16) earthquake swarms that damaged
Plaintiff West’s, Hopson’s, Livsey’s, Cloyes’, Whites’ and the class’ real and
personal property and interfered with their use and enjoyment of real property.”)
However, there are no allegations in the Second Amended Complaint that the Cloyes
experienced the Crescent earthquakes or that Livsey experienced the Edmond or
Crescent earthquakes. Moreover, the court is limited to the allegations of the second
amended complaint, see, Rule 12(d), Fed. R. Civ. P, and “[f]actual statements . . .
appearing only in briefs shall not be deemed to be a part of the record in the case,
unless specifically permitted by the court.” LCvR 7.1(j). 12
       As to the Edmond earthquakes, plaintiffs argue that even though the Cloyes
purchased their property after the earthquakes, they are not barred from recovering
damages to the property, citing Fischer v. Atlantic Richfield Co., 774 F. Supp. 616
(W.D. Okla. 1989). They also argue that they can bring a nuisance cause of action
since they have a possessory interest or property right in the land, citing Nichols v.
Mid-Continent Pipe Line Co., 933 P.2d 272 (Okla. 1996).



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  The court notes that later in their response brief, while discussing defendant Range, plaintiffs
acknowledge that the second amended complaint does not tie a named plaintiff to the Crescent
earthquakes. Doc. no. 298, p. 15 (“While there is no named Plaintiff associated for the Crescent
Earthquake currently, Plaintiffs Cloyes and Livsey likely suffered damaged from the Crescent
earthquake . . .”).

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      The court, however, concludes that neither case supports the claims of the
Cloyes against Devon, Oklahoma Oil and Gas or New Dominion. In the Fischer
case, plaintiffs brought a cause of action for pollution of land and water. The
defendant company argued that plaintiffs had no cause of action for pollution
damage occurring before they obtained title to the land, citing the principle that a
purchaser of land takes the land as he finds it, subject to any pre-existing depreciation
due to a nuisance. The court determined that the cited principle applied only where
the injury caused by the nuisance “is permanent, not where it is temporary.” Fischer,
774 F. Supp. at 619. Additionally, the court found that “[t]he damages complained
of by plaintiffs are temporary and continuing in character, in which case a purchaser
may recover for injuries suffered subsequent to his purchase.” Id. The court further
found that to the extent defendant’s actions created a public nuisance, the “coming
to the nuisance” doctrine was inapplicable. Id.
      In the case at bar, there are no allegations that the Edmond earthquakes are
continuing in character. According to the complaint’s allegations, Devon’s injection
activities only caused a discrete series of earthquakes in 2013 and 2014. Moreover,
there are no allegations that plaintiffs suffered any injuries because of any Edmond
earthquakes “subsequent” to their purchase. Plaintiffs seek compensation for the
damage that allegedly occurred prior to their purchase. Lastly, plaintiffs have made
no claim for public nuisance.       Therefore, despite plaintiffs’ arguments to the
contrary, the Fischer case does not support the proposition that the Cloyes may
recover for damage which occurred prior to their purchase as a nuisance claim or on
any other theory asserted.
      In the Nichols case, a sublessee of a ranch brought nuisance and negligence
claims for injuries to cattle and for harm to his possessory interest in the ranch.
Plaintiff alleged that defendant’s oil and gas operations released hydrocarbons which
were ingested by his cattle. The oil and gas operations at issue had occurred prior

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to the sublease. The defendant argued that the plaintiff could not recover under the
nuisance claim because he was a trespasser on the land. Although the Oklahoma
Supreme Court acknowledged that there might be a legal question about the validity
of the sublease, it concluded that defendant could not raise as a defense the lessee’s
breach of a provision restricting the lessee’s right to sublet without the lessor’s
approval. The Court found that the record established that plaintiff was in actual
possession of the land, and consequently, he fell within the class of claimants
authorized to bring an action for private nuisance. Thus, the Court determined that
the plaintiff could recover for personal harm, inconvenience and annoyance
incidental to defendant’s interference with plaintiff’s possessory interest in the land.
      Here, the Cloyes are currently in possession of the land. However, unlike the
sublessee in Nichols, the harm for which the Cloyes seek to recover damages was
suffered before the Cloyes owned or possessed the property.              There are no
allegations as to any Edmond earthquake occurring after the purchase of their
residence. The court concludes that the Nichols decision does not support the
Cloyes’ claim of nuisance or any other tort claim alleged.
      In sum, because plaintiffs have failed to allege facts sufficient to show that
any named plaintiff was damaged because of any wastewater injection activities
allegedly causing the Edmond and Crescent earthquake swarms, the court finds that
plaintiffs have failed to allege plausible claims against Devon and Oklahoma Oil and
Gas Management and their motions to dismiss should be granted in their entirety.
The court also concludes that plaintiffs have failed to allege plausible claims against
defendant New Dominion based upon the Edmond earthquake swarm and against
defendant White Star Petroleum based upon the Crescent earthquake swarm.
Consequently, the motion to dismiss of defendant New Dominion should be granted
as to claims based upon the Edmond earthquake swarm and the motion to dismiss of



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White Star Petroleum should be granted as to claims based on the Crescent
earthquake swarm.
       In the second amended complaint, plaintiffs seek to recover against White Star
Petroleum, with respect to the Prague, Pawnee and Cushing earthquake swarms.
Plaintiffs seek to recover against New Dominion with respect to the Prague
earthquakes. As discussed below, the court concludes that plaintiffs have satisfied
their burden of plausibly alleging causation with respect to those earthquake swarms.
Therefore, plaintiffs’ claims against defendants, White Star Petroleum and New
Dominion, as to those earthquake swarms, will not be dismissed.
Other Earthquake Swarms
       The remaining defendants (including New Dominion and White Star
Petroleum) similarly challenge the adequacy of the causation allegations against
them. Plaintiffs allege that the defendants’ injection of wastewater caused the
Prague, Fairview/Cherokee, Pawnee and Cushing earthquake swarms. The court,
accepting the well-pleaded allegations as true and viewing them in a light favorable
to plaintiffs, is satisfied that plaintiffs have set forth allegations sufficient to avoid
Rule 12(b)(6) dismissal. In the court’s view, the new allegations are sufficient to
cure the prior shortcomings of the dismissed amended complaint.                      The new
allegations identify specific wells of defendants that were the primary causes of
specific earthquakes and they set forth the specific reasons why the specific wells
were the primary causes of the specific earthquakes – upper quartile injection well
disposal volume, within 10 miles of the earthquake or otherwise of special interest.13

13
   Plaintiffs specifically allege that the Prague earthquake swarm was primarily caused by
defendants Phoenix Oil and Gas, New Dominion, White Star Petroleum, Fairfield, Transpro and
Equal Energy. The court notes, however, that there are no allegations that these defendants were
injecting wastewater prior to the 2011 earthquake or earthquakes. The second amended complaint
describes the injection volumes for each of the defendants in paragraphs 21-23, 25 and 29 and



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The new allegations also link the specific earthquakes to harm suffered by one or
more of the named plaintiffs. The court concludes that plaintiffs have met their
burden to plausibly allege causation. The court rejects defendants’ arguments to the
contrary.
       In reaching its decision, the court specifically rejects the argument advanced
by White Star Petroleum and New Dominion14 that plaintiffs must identify the
specific geographic fault “that would permit increased pressure in the Arbuckle to
trigger an earthquake having its point of origin in the granite basement.” Motion
(doc. no. 279), p. 4. The Rule 12(b)(6) standard is more severe than it used to be, of
course, but it does not put White Star Petroleum and New Dominion in a position to
test plaintiffs’ pleadings as severely as they propose to do. The court does not
conclude that identification of any particular fault as the culprit is necessary to avoid
Rule 12(b)(6) dismissal. As plaintiffs point out, they do not have an obligation to
prove causation at this stage – they merely need to allege sufficient facts to allege
plausible claims. In the court’s view, plaintiffs have done so, despite the fact that
they have not identified the specific geographic fault or faults which permit
wastewater in the Arbuckle to trigger an earthquake. Plaintiffs, in advancing their
geographic assertions in the second amended complaint, may well have given
themselves a steep hill to climb for summary judgment purposes, but they have
surmounted the flatter slope presented by Rule 12(b)(6).




refers to injection volumes for Pottawatomie County. The injection volumes alleged are from
2012 to 2014 or 2014 to 2015. No volumes are given for 2011 or earlier. But none of the
defendants have challenged the second amended complaint on this basis and the court declines to
raise the issue sua sponte. The issue may be raised on summary judgment, if appropriate.


14
   In its motion, New Dominion generally adopts and incorporates White Star Petroleum’s
dismissal motion. See, Motion (doc. no. 286), p. 4.

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Insurance Premiums as Damages
      In their motions, the remaining defendants also challenge plaintiffs’ request
for reimbursement of past and future insurance premiums. Some of the named
plaintiffs carry earthquake insurance and others desire that coverage. Defendants
contend that insurance premiums are not recoverable as damages as a matter of law.
Parties’ Arguments
      Defendants initially argue that the cost of insurance premiums does not
constitute an item of compensable damages for injury to property. They posit that
Oklahoma law limits damages for permanent injury to “the difference between the
actual value immediately before and immediately after the damage is sustained,”
Keck v. Bruster, 368 P.2d 1003 (syllabus 1), and limits damages for temporary injury
to “the reasonable cost of repairing the damage and restoring it to its former
condition,” id. With respect to latter, defendants also point out that the cost of
restoration cannot exceed the diminution in value caused by a defendant. See,
Schneberger v. Apache Corp., 890 P.2d 847, 849 (Okla. 1994).
      Additionally, several defendants argue that payment of premiums to insure for
future property damage caused by an earthquake is a voluntary act, and under
Oklahoma law, voluntary payments are not recoverable as damages.
      Defendant Chesapeake further points out that Oklahoma law has never
recognized an award of insurance premiums as damages in a tort action, and that a
Louisiana court which addressed the issue in Nikolaus v. City of Baton Rouge/Parish
of East Baton Rouge, 40 So.3d 1244 (La. App. 1st Cir. 2010), determined no such
recovery existed.
      In response, plaintiffs recognize that Oklahoma law has not specifically
addressed whether insurance premiums are recoverable. However, plaintiffs point
out that in nuisance and negligence actions, a plaintiff can recover damages for
personal injury as well as damages for injury to property. Plaintiffs point out that

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the Oklahoma Supreme Court has specifically held in several nuisance cases that
injuries related to inconvenience, annoyance and discomfort are injuries to the
person and are separate and distinct from injury to property. They also point out that
23 O.S. 2011 § 61, which codifies damages for tort actions, provides that the measure
of damages in those actions “is the amount which will compensate for all detriment
proximately caused thereby, whether it could have been anticipated or not.”
According to plaintiffs, this measure of damages allows an injured party to receive
compensation for any pecuniary loss. This court, plaintiffs argue, can find the
payment of insurance premiums to be a “detriment.” Further, plaintiffs assert that
even though they suffered property damages from the earthquakes, they are not
limited to recovery of those damages alone. They maintain that they may recover
all damages that were proximately caused by the earthquakes, whether anticipated
or not.
       Plaintiffs additionally contend that defendants are incorrect in arguing that
they cannot recover insurance premiums because they are voluntarily paid.
According to plaintiffs, the cases cited by defendants in support of their position do
not involve the payment of insurance premiums, and more particularly, they do not
involve the payment of insurance premiums to a third-party not involved in the
lawsuit. Further, plaintiffs point out that the insurance premium payments were not
voluntary. They assert that they would not have any need for earthquake insurance
but for the actions of defendants.
       In reply, defendants, White Star Petroleum, Equal Energy, and Fairfield Oil
and Gas,15 argue that in the second amended complaint, plaintiffs did not ask for
annoyance, discomfort and convenience damages under the negligence or nuisance



15
   Equal Energy and Fairfield Oil and Gas adopt the arguments made by White Star Petroleum in
its reply brief.

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theories. Instead, they requested such damages only with respect to the trespass
theory. And, defendants assert that under Oklahoma law, plaintiffs must show
physical injury causally connected to alleged emotional distress to recover for that
emotional distress under a trespass claim. Defendants point out that the insured
subclass does not allege any physical injury resulting from any alleged trespass.
      In addition, defendants assert that the second amended complaint does not
allege that plaintiffs were economically forced to purchase earthquake insurance.
Defendants contend that even if the court were to infer that plaintiffs incurred
insurance costs under coercion, duress or a similar theory of involuntary conduct,
Oklahoma courts, following Cimarron Pipeline Construction, Inc. v. United States
Fidelity & Guaranty Insurance Company, 848 P.2d 1161 (Okla. 1993), would not
recognize forced insurance premiums as a form of damages.
      Defendant EastOK argues that plaintiffs have cited no authority holding that
insurance premiums are recoverable as damages for personal annoyance and
inconvenience. Such damages, defendant maintains, would not be foreseeable and
naturally flow from the alleged tortious acts.
      Defendant Chesapeake argues that in lumping insurance premiums with other
types of damages, plaintiffs have not addressed the fundamental nature of insurance
premiums and how payment of those premiums is inconsistent with Oklahoma’s
concepts of damages. Chesapeake asserts that plaintiffs and class members who
elect to obtain earthquake insurance have made a choice as to how to manage risk.
Defendant maintains that many will never suffer damage or make a claim on their
policy, just as many who chose not to obtain earthquake coverage will never suffer
any actual harm.
Discussion
      As a federal court sitting in diversity, the court’s duty “under Erie v. Tompkins
principles is of course to conform to Oklahoma’s substantive law.” Stauth v.

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National Union Fire Ins. Co. of Pittsburgh, 236 F.3d 1260, 1267 (10th Cir. 2001).
And absent definitive direction from the Oklahoma Supreme Court, the court must
“predict the course that body would take if confronted with the issue.” Id. In making
such prediction, the court is “free to consider all resources available, including
decision of [Oklahoma] courts, other state courts and federal courts, in addition to
the general weight and trend of authority.” F.D.I.C. v. Schuchmann, 235 F.3d 1217,
1225 (10th Cir. 2000).
      Here, all agree that neither the Oklahoma Supreme Court nor any other
Oklahoma court has addressed whether a plaintiff, in a tort action, may recover
reimbursement for money paid by way of insurance premiums. The court therefore
must predict whether such damages are legally cognizable. Upon review of the
parties’ submissions and relevant authority, the court finds that the Oklahoma
Supreme Court, if confronted with the issue, would find the money damages sought
by plaintiffs are not legally cognizable.
      The court has ruled, in a separate putative class action, Meier, et al. v.
Chesapeake Operating, L.L.C., et al., CIV-17-703-F, that the named plaintiffs are
not entitled to recover insurance premiums paid to obtain earthquake insurance
coverage, or the excess amount paid to maintain the coverage, under tort theories of
public and private nuisance, ultrahazardous activities and negligence. In that case,
the named plaintiffs made no allegations of any damage to their person or their
property. They only alleged damage in the form of their payment of past and future
insurance premiums. Here, although the insured subclass, as defined, does not assert
that the class members have suffered damage to person or property, the insured
subclass’s claims are not before the court. Indeed, the court has not certified any
subclass. Only the named plaintiffs and their claims are before court. McKenzie v.
City of Chicago, 118 F.3d 552, 555 (7th Cir. 1997) (“Because a class has not been
certified, the only interests at stake are those of the named plaintiffs.”) Each of the

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named plaintiffs has alleged damage to property, as well as personal damage in the
form of annoyance, discomfort and inconvenience. This case, therefore, is not the
same as the Meier case. Nevertheless, even though the named plaintiffs have alleged
damage to their property or to their person, the court opines that plaintiffs are not
entitled to recover insurance premiums as an additional item of damages.
      Plaintiffs have not cited any case authority which permits the recovery of
insurance premiums in a tort action. As pointed out by defendant Chesapeake, a
Louisiana appellate court, in Nikolaus v. City of Baton Rouge/Parish of East Baton
Rouge, 40 So.3d 1244 (La. App. 1st Cir. 2010), addressed the issue in a tort action
and held that insurance premiums were not recoverable. In that case, the plaintiff
brought a tort action against defendant city for failure to repair and maintain a
drainage system resulting in flood damage to her home. As part of the requested
damages, plaintiff sought to recover the cost of flood insurance she purchased. The
trial court awarded the damages. On appeal, the Louisiana appellate court reversed.
In so doing, the court explained that even though plaintiff would not have had to
purchase flood insurance but for her flooding problems, it was unaware of any “law
or jurisprudence that allows her to recover these damages.” Id. at 1248. The
appellate court, following another Louisiana appellate court in Severn Place
Associates v. American Bldg. Services, Inc., 930 So.2d 125 (La. App. 5th Cir. 2006),
denying a cause of action to recover increased insurance premiums arising from a
tortfeasor’s negligence, determined that “no right of action exists for recovery of
insurance premiums based on a tortfeasor’s negligence or strict liability.” Nikolaus,
40 So.3d at 1248. In the absence of any relevant authority allowing recovery of
insurance premiums under the tort theories alleged, the court opines that the
Oklahoma Supreme Court would not permit plaintiffs to recover insurance
premiums as an item of damages.



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       Plaintiffs urge the court to allow them to recover insurance premiums as a part
of damages for annoyance, discomfort and inconvenience. The court agrees with
defendants, White Star Petroleum, Equal Energy and Fairfield Oil and Gas, that
plaintiffs have sought those damages only under the trespass theory they assert. See,
Second Amended Complaint, Prayer, pg. 81. Judge Miles-LaGrange ruled in
Bickerstaff v. Halliburton Energy Services, Inc., 2015 WL 3646136, at *3 (W.D.
Okla. June 10, 2015) that while plaintiffs could recover damages for personal
inconvenience, annoyance and discomfort under a nuisance theory absent physical
injury, plaintiffs could not recover compensation for mental distress, anguish,
anxiety, discomfort and annoyance under a trespass claim without physical injury.
In this case, none of the named plaintiffs, except Julia White,16 has claimed to have
suffered any physical injury.
       The court need not decide whether plaintiffs are entitled to recover damages
for annoyance, discomfort or inconvenience under a trespass theory absent physical
injury. Even if the court were to find that all named plaintiffs could recover these
damages without physical injury, the court cannot conclude that the Oklahoma
Supreme Court would recognize the payment of insurance premiums as falling
within the scope of the relief available on account of annoyance, discomfort and
inconvenience. And none of the cases cited by plaintiffs support a conclusion that
insurance premiums would fall within any of those categories.
       Plaintiffs also cite 23 O.S. 2011 § 61 as support for an award of damages for
insurance premiums. While the language of the statute is broad, i.e. the measure of
damages includes “all detriment,” Oklahoma courts have determined that the
statutory provision declares or codifies common law. Commercial Fin. Servs., Inc.


16
 According to the second amended complaint, Mrs. White suffered a physical injury to her foot
when a sliver of glass from broken glassware entered her foot, causing an infection. See, Second
Amended Complaint (doc. no. 272), ¶ 35.

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v. J.P. Morgan Secs, Inc., 152 P.3d 897, 900 (Okla. Civ. App. 2006). Recovery of
insurance premiums has not been recognized under Oklahoma common law.
Consequently, the court concludes that the statutory provision does not support a
finding that plaintiffs can recover insurance premiums under their alleged tort
theories of liability.
       In their papers, plaintiffs additionally refer to Article 2, Section 6 of the
Oklahoma Constitution which states:
              The courts of justice of the State shall be open to every
              person, and speedy and certain remedy afforded for every
              wrong and for every injury to person, property, or
              reputation; and right and justice shall be administered
              without sale, denial, delay, or prejudice.

Okla. Const. Art. 2, § 6. Plaintiffs assert that in reviewing defendants’ motion, the
court must recognize that this constitutional provision guarantees a remedy for every
wrong and for injury to person, property, or reputation. However, in interpreting
Article 2, Section 6, the Oklahoma Supreme Court has held that the constitutional
provision is intended “to guarantee that the judiciary would be open and available
for the resolution of disputes, but not to guarantee that any particular set of events
would result in court-awarded relief.” City of Anadarko v. Fraternal Order of Police,
Lodge 118, 934 P.2d 328, 330 (Okla. 1997). According to the Court, it is “most
often used to insure equal access to court, regardless of status.” Id. The court cannot
conclude that Section 6 guarantees plaintiffs a specific remedy, such as recovery of
insurance premiums. Furthermore, the court notes that plaintiffs, in the case at bar,
are not without any remedy for defendants’ alleged wrongs. They also seek recovery
for damage to their property and to their person. Thus, the court concludes that
Section 6 does not support a finding that plaintiffs are entitled to a remedy by way
of damages measured by the cost of insurance.



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       Plaintiffs suggest, in briefing, that the payment of insurance premiums is not
voluntary. See, Response (doc. no. 298), p. 38 (“[I]t seems a bit disingenuous to
categorize Plaintiffs’ payments for these insurance premiums as ‘voluntary’. . .
Being forced to pay for something that would not be necessary if it were not for the
wrongful act of another is far from voluntary.”).17 To the extent plaintiffs seek to
recover their insurance premiums based upon a theory of economic duress, the court
finds that they are not entitled to that relief. The Oklahoma Supreme Court has
previously held that economic duress is not an independent tort under Oklahoma
law. See, Cimarron Pipeline Const., Inc., 848 P.2d at 1162. Therefore, plaintiffs
may not recover insurance premiums on a theory of economic duress.
       Plaintiffs further argue that “[d]ismissing [the insurance premiums] damages
without any benefit of discovery would be improper.” Response (doc. no. 298), p.
39. However, given that plaintiffs have not proffered any persuasive authority for
the court to conclude that the Oklahoma Supreme Court would recognize the damage
request under the tort theories of liability alleged, the court concludes that it is not
in the interest of justice to allow plaintiffs to further pursue the request and conduct
discovery as to these damages. Hence, the court concludes that the remaining



17
  As stated, defendants, White Star Petroleum, Equal Energy and Fairfield Oil and Gas, argue that
plaintiffs cannot recover insurance premiums as damages because they are voluntarily paid. The
facts of this case are, however, clearly distinguishable from the cases cited by defendants applying
the voluntary payment rule. See, Hadley v. Farmers’ Nat. Bank of Oklahoma City, 257 P. 1101,
1103-1104 (Okla. 1927) (“Money voluntarily paid under a claim of right to payment, with full
knowledge of all of the facts which would entitled the payor to relief against the payment of the
claim, cannot be recovered on the ground that the claim was illegal.”); accord, Am. Surety Co. v.
Steen, 208 P. 212, 213 (Okla. 1922); see also, McWethy v. Telecommunications, Inc., 988 P.2d
356, 357 (Okla. Civ. App. 1999) (“[P]ayment, with full knowledge of all facts, cannot be recovered
because of payer’s misapprehension of legal rights and obligations.”) The court therefore rejects
defendants’ argument that plaintiffs cannot recover insurance premiums based upon the
application of the voluntary payment rule.



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defendants’ motions to dismiss should be granted as to plaintiffs’ request for
reimbursement of insurance premiums.18
Conclusion
       Based upon the foregoing, Devon Energy Production Company, L.P.’s
Motion to Dismiss Plaintiffs’ Second Amended Complaint (doc. no. 278) is
GRANTED; Defendant, Sandridge Exploration and Production, LLC’s Motion to
Dismiss Plaintiffs’ Second Amended Complaint (doc. no. 281) is GRANTED; the
Motion to Dismiss of Defendant Oklahoma Oil and Gas Management, Inc. (doc. no.
284) is GRANTED; Defendants Chaparral Energy, LLC’s and Range Production
Company, LLC’s Motion to Dismiss (doc. no. 285) is GRANTED.
       Plaintiffs’ Second Amended Complaint against defendants, Devon Energy
Production Company, L.P., Oklahoma Oil and Gas Management, Inc., Chaparral
Energy, LLC, and Range Production Company, LLC, is dismissed pursuant to Rule
12(b)(6), Fed. R. Civ. P.
       The Motion to Dismiss Plaintiffs’ Second Amended Complaint filed by
defendant, New Dominion, LLC (doc. no. 286) is GRANTED as to plaintiffs’
claims based upon the Edmond earthquake swarm and plaintiffs’ request for
reimbursement of insurance premiums, and DENIED in all other respects.



18
  Plaintiffs request reimbursement of insurance premiums on behalf of themselves as well as on
behalf of other similarly situated. In the second amended complaint, plaintiffs propose an insured
subclass (“Insured Subclass”) comprising of class members who paid earthquake insurance
premiums on real property in the class area. The court has not yet addressed whether certification
of a class or subclass would be appropriate. Nonetheless, the court may rule on motions under
Rule 12, such as the ones before it, before addressing certification of a class or subclass. See,
Manual for Complex Litigation (Fourth) § 21.133. The court’s ruling granting defendants’
motions to dismiss as to plaintiffs’ request for reimbursement of insurance premiums is binding
only on the named parties. However, in light of the court’s decision on that issue, the court
concludes that the allegations relating to the Insured Subclass, and the requested relief for the
Insured Subclass, should be stricken from the second amended complaint under Rule 12(f), Fed.
R. Civ. P., as those allegations and the requested relief are immaterial to this action going forward.

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        Defendant White Star Petroleum, LLC’s Motion to Dismiss Plaintiffs’ Second
Amended Complaint for Failure to State a Claim (doc. no. 279) is GRANTED as to
plaintiffs’ claims based upon the Crescent earthquake swarm and plaintiffs’ request
for reimbursement of insurance premiums, and DENIED in all other respects.
        The motions to dismiss of the remaining defendants (doc. nos. 282, 284, 287
and 289) are GRANTED as to plaintiffs’ request for reimbursement of insurance
premiums and are DENIED in all other respects.
        In light of the court’s ruling granting defendants’ motions to dismiss with
respect to plaintiffs’ request for reimbursement of insurance premiums, the
allegations and the requested relief set forth in the Second Amended Complaint
relating to the Insured Subclass are STRICKEN as immaterial pursuant to Rule
12(f), Fed. R. Civ. P.
        IT IS SO ORDERED this 13th day of August, 2018.




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